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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                       AMARILLO DIVISION

 DONALD         J. TRUMP, et al.,

                Plaintiffs,

 v.                                                              2:24-CV-236-Z

 CBS BROADCASTING INC., et al.,

                Defendants.

                                                ORDER

            Before the Court is the parties’ Consent Motion for an Extension of Time to Respond to

Defendants’ Motions to Dismiss (“Motion”) (ECF No. 53), filed March 11, 2025. The parties seek to

extend Plaintiffs’ deadline to oppose Defendants’ motions to dismiss to April 28, 2025. ECF No. 53

at 1. They further seek to extend Defendants’ deadline to reply to Plaintiffs’ opposition to May 28, 2025.

Id. at 2.

            The Court GRANTS the Motion. Plaintiffs must file a response to Defendants’ motions to

dismiss on or before April 28, 2025. Defendants must file a reply to Defendants’ opposition on or

before May 28, 2025.

            SO ORDERED.

                                                            Af                bo         ul           ——
            March 1272025


                                                         MATTHEW J. KACSMARYK
                                                         UNJTED STATES DISTRICT JUDGE
